            Case 20-03016 Document 13 Filed in TXSB on 06/17/20 Page 1 of 7




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

IN RE:                            |
                                  |
NEIGHBORS LEGACY HOLDINGS, INC., |                                                 CASE NO. 18-33836-H1-11
                                  |                                                Chapter 11
      Debtor                      |
                                  |
MARK SHAPIRO, TRUSTEE             |
OF THE UNSECURED CREDITOR TRUST |
OF NEIGHBORS LEGACY HOLDINGS,     |
INC. AND ITS DEBTOR AFFILIATES,   |
      Plaintiff                   |
                                  |
VS.                               |                                                ADV. NO. 20-03016
                                  |
TOM VO, ET AL.,                   |                                                JURY DEMANDED
      Defendants                  |


                   MOTION TO DISMISS FOR IMPROPER JOINDER
                          OF MULTIPLE DEFENDANTS
                 OR IN THE ALTERNATIVE SEVER THE TRUSTEE’S
           CLAIMS AGAINST BANKYMED EMERGENCY MANAGEMENT PLLC
                         AND ORDER A SEPARATE TRIAL


          This motion seeks an order that may adversely affect you. If you oppose the
          motion, you should immediately contact the moving party to resolve the dispute.
          If you and the moving party cannot agree, you must file a response and send a
          copy to the moving party. You must file and serve your response within 21 days
          of the date this was served on you. Your response must state why the motion
          should not be granted. If you do not file a timely response, the relief may be
          granted without further notice to you. If you oppose the motion and have not
          reached an agreement, you must attend the hearing. Unless the parties agree
          otherwise, the court may consider evidence at the hearing and may decide the
          motion at the hearing.

          Represented parties should act through their attorney.




Motion to Dismiss for improper Joinder of Defendants by Bankymed Emergency Management PLLC or in the Alternative Sever the Trustee's
Claims Against Blankymed Emergency Management PLLC and Order a Separate Trial – Page 1
            Case 20-03016 Document 13 Filed in TXSB on 06/17/20 Page 2 of 7




TO THE HONORABLE MARVIN ISGUR UNITED STATES BANKRUPTCY JUDGE:

          Comes now Bankymed Emergency Management PLLC, one of the Defendants in the

above numbered and titled Adversary Proceeding ("Bankymed"), and respectfully moves the

court to dismiss the Plaintiff's First Amended Complaint (doc 4, the "Complaint") filed by Mark

Shapiro, Trustee of the Unsecured Creditor Trust of Neighbors Legacy Holdings, Inc. and its

Debtor Affiliates (the "Trustee"), for improper joinder of defendants, pursuant to Fed.R.Civ.P 20

and 21 and Fed.R.Bankr.P. 7020 and 7021, and respectfully represents:

                                                          Background

          1. The Trustee filed this Adversary Complaint on January 24, 2020, and on February 17,

2020 the Trustee filed a First Amended Complaint (doc 4) against seventy nine defendants, both

individuals and corporate entities, seeking to recover money or property of the estate on the

grounds that each of the named defendants allegedly received transfers of money from one or

more of the fifty one debtor entities in amounts ranging from $4,539,281.04 to $5,281.55.

          2. The Trustee seeks a monetary judgment against the defendants pursuant to 11 U.S.C.

Sections 548 and 550 for payments allegedly received by them during the years 2016-2018

(Amended Complaint page 13, paragraphs 95 - 96). The Trustee also seeks monetary judgments

against each of these defendants under Section 26-006 of the Uniform Fraudulent Transfer Act,

(Tex. Bus. & Comm. Code Section 26.006) (Amended Complaint pages 14 – 16, paragraphs 97 –

105).

          3. There is no allegation in the Complaint of any connection between the defendants and

no allegations in the Complaint that the defendants acted in concert or that the defendants are

jointly and severally liable in any amounts. Each of the defendants is alleged to be liable on its

own for a specific dollar amount.


Motion to Dismiss for improper Joinder of Defendants by Bankymed Emergency Management PLLC or in the Alternative Sever the Trustee's
Claims Against Blankymed Emergency Management PLLC and Order a Separate Trial – Page 2
            Case 20-03016 Document 13 Filed in TXSB on 06/17/20 Page 3 of 7




               Joinder of All of the Trustee’s Fraudulent Transfer Avoidance Claims
                             Into One Omnibus Complaint is Improper
                         Under Fed.R.Civ. P. 20 and Fed.R.Bankr.P. 7020

          4. Fed.R.Bankr.P 7020 incorporates Fed.R.Civ.P. 20 in adversary proceedings. Rule

20(a)(2) permits the permissive joinder of multiple parties by providing in relevant part:

          (2) Persons—as well as a vessel, cargo or other property subject to admiralty

                process in rem-- may be joined in one action as defendants if:

                (A) any right to relief is asserted against them jointly, severally, or in the

                       alternative with respect to or arising out of the same transaction,

                       occurrence, or series of transactions or occurrences; and

                (B) any question of law or fact common to all defendants will arise in the

                       action.

          5. "Rule 20(a) has two tests for joinder: 1) the occurrence of some question of fact or

law common to all parties; and 2) the existence of a right to relief predicated upon or arising out

of a single transaction or occurrence or series thereof. Both tests must be satisfied if joinder is to

be permitted." In re Conners, 125 B.R. 611, 614 (Bankr. S.D. Cal. 1991); accord, Holcomb v.

Norwest Financial, Inc., 217 B.R. 239, 241 (N.D.Ill. 1998). Although Rule 20 is liberally

construed, a court does not have the discretion to permit joinder when a party has failed to meet

both tests. Gruening v. Sucic, 89 F.R.D. 573 (E.D.Pa 1981). Of these two tests, the requirement

of "transactional relatedness" is more difficult to establish than the requirement of a common

question. 4 Moore's Federal Practice 3d, §§ 20.02[1][a], 20.05[1] (1999).

          6. The Trustee’s Complaint does not assert any right to relief against the defendants

jointly, severally, or in the alternative, with respect to or arising out of the same transaction,

occurrence, or series of transactions or occurrence. Nor does the Trustee’s Complaint allege any


Motion to Dismiss for improper Joinder of Defendants by Bankymed Emergency Management PLLC or in the Alternative Sever the Trustee's
Claims Against Blankymed Emergency Management PLLC and Order a Separate Trial – Page 3
            Case 20-03016 Document 13 Filed in TXSB on 06/17/20 Page 4 of 7




question of law or fact common to all defendants. Each defendant is alleged to be the recipient

of different transactions. The only thing that the defendants have in common is that the Trustee

alleges that the defendants are all liable upon the same theory, that each defendant received

separate transfers from one or more of the debtor entities that are alleged to have been made in

fraud of the rights of creditors.

          7. The plaintiff may not join multiple defendants in one lawsuit simply because they are

all purportedly liable to the plaintiff on similar or identical causes of action. Joinder of

defendants under Rule 20 requires: (1) a claim for relief asserting joint, several, or alternative

liability and arising from the same transaction, occurrence, or series of transactions or

occurrences, and (2) a common question of law or fact. Tapscott v. MS Dealer Serv., 77 F.3d

1353, 1360 (11th Cir. 1996), overruled on other grounds, Cohen v. Office Depot, Inc., 204 F.3d

1069 (11th Cir. 2000). Misjoinder occurs when there is no common question of law or fact or

when the events that give rise to the plaintiff’s claims against the defendants do not stem from

the same transaction. DirctTV, Inc. v. Leto, 467 F.3d 842, 844 (3rd Cir. 2006).

          8. Courts have held that a cable television provider could not join 104 individuals who

allegedly received unauthorized reception of the plaintiff's pay-per-view programming without

an allegation that the defendants were acting jointly. Tele-Media Co. of Western Conn. v.

Antidormi, 179 F.R.D. 75 (D.Conn. 1998); accord Movie Systems, Inc. v. Abel, 99 F.R.D. 129

(D.Minn. 1983). Similarly, in Kenvin v. Newburger, Loeb Co., 37 F.R.D. 473 (S.D.N.Y. 1965),

a lawsuit brought against four stockholders was held to be misjoined, even though the plaintiff

asserted that each defendant violated the same statutory provisions. Id, at 475. In the case of

Federal Housing Adm'r v. Christianson, 26 F.Supp 419 (D. Conn. 1939, the court held that the




Motion to Dismiss for improper Joinder of Defendants by Bankymed Emergency Management PLLC or in the Alternative Sever the Trustee's
Claims Against Blankymed Emergency Management PLLC and Order a Separate Trial – Page 4
            Case 20-03016 Document 13 Filed in TXSB on 06/17/20 Page 5 of 7




plaintiff's attempt to collect on two different promissory notes from different obligors could not

be joined in one lawsuit.

          9. Bankruptcy courts have reached the same conclusion and have not permitted a debtor

to join various creditors in one lawsuit in seeking a determination that these otherwise separate

obligations were dischargeable under section 523. In re Cofrancesco, 191 B.R. 370 (Bankr.

.D.Ohio, 1996); In re McIntosh, 168 B.R. 187 (Bankr. E.D.Ark., 1994); In re Conners, 125 B.R.

611, 614 (Bankr. S.D.Cal. 1991). One bankruptcy court held that a bankruptcy trustee's attempt

to join eleven individual defendants in one lawsuit, on the basis that each of them received

improper post-petition transfers from the debtor in violation of section 549, violated the joinder

provisions of Rule 7020. In re M L Business Mach. Co., Inc., 132 B.R. 433, 435 (Bankr.D.Colo.

1991). The court noted that it appeared that the only reason why the Trustee joined all of the

defendants in a single adversary case was to avoid paying multiple filing fees. Another court

held that the debtor may not join in a single complaint all creditors, who were omitted from the

debtor's schedules, to seek an order that the claims of the creditors were discharged, because

there was no underlying transaction or occurrence which connected them. In re McIntosh, 168

B.R.187 (Bankr. E.D.Ak 1994). The same may be said of the Trustee’ Amended Complaint.

                                                   Other Considerations

          10. There are other good reasons why all of the Trustee's fraudulent transfer claims

should not be joined into a single case.

          11. Twenty of the defendants are sued for amounts which are less than $25,000.

Pursuant to 28 U.S.C. Section 1409(b), a trustee in a case under title 11 may commence a

proceeding arising in or related to such case to recover a money judgment of or property worth

less than $25000, only in the district in which the defendants reside. 28 U.S.C. Section 1409(b).


Motion to Dismiss for improper Joinder of Defendants by Bankymed Emergency Management PLLC or in the Alternative Sever the Trustee's
Claims Against Blankymed Emergency Management PLLC and Order a Separate Trial – Page 5
            Case 20-03016 Document 13 Filed in TXSB on 06/17/20 Page 6 of 7




The defendants who are sued for less than $25,000 would have a right to a change of venue to

the districts where they reside.

          12. Also, the dates on which each of the debtor entities became insolvent are not the

same and differ between the individual debtor entities. Some of the debtor entities closed

quickly, whereas other debtor entities remained in business and were not insolvent until on or

shortly before the petition date. The date on which the particular debtor entity which made each

transfer in question became insolvent is the controlling date for determination of the Trustee’s

look back periods and the applicable statutes of limitations.

          13. The Trustee requested a trial by jury. Having parties and attorneys for all of the

many defendants attend discovery and court proceedings all together would overcrowd the

courtroom and make the conduct of discovery, depositions, mediations, and other pre-trial

matters, and a trial on the merits impossibly complicated. It would be an impossible burden to

require attorneys for all of the defendants to attend depositions of all of the other defendants and

witnesses. The court would have to conduct separate trials as to all of the claims against

defendants who contest the Plaintiffs Complaint.

                                          Alternative Request for Severance

          4. In the alternative, Bankymed requests that the Court sever the Trustee’s complaint

against Bankymed and order a separate trial, pursuant to Fed.R.Civ.P. 20(b).

                                                            PRAYER

          Wherefore, premises considered, Bankymed Emergency Management PLLC prays that

the Trustee’s Complaint be dismissed pursuant to Fed.R.Bankr.P. 21 for improper joinder of

multiple defendants, or in the alternative, that the Trustee’s complaint against Blankymed




Motion to Dismiss for improper Joinder of Defendants by Bankymed Emergency Management PLLC or in the Alternative Sever the Trustee's
Claims Against Blankymed Emergency Management PLLC and Order a Separate Trial – Page 6
            Case 20-03016 Document 13 Filed in TXSB on 06/17/20 Page 7 of 7




Emergency Management PLLC be severed and that the Court order a separate trial of the

Trustee’s claims against Blannkymed Emergency Management PLLC..

                                                              Respectfully submitted,

                                                              ROSS, BANKS, MAY, CRON & CAVIN, P.C.

                                                              By:
                                                              John Mayer
                                                              Texas Bar Number 13274500
                                                              Southern District Number 502092
                                                              7700 San Felipe, Suite 550
                                                              Houston, Texas 77063
                                                              Phone 713-626-1200
                                                              Email jmayer@rossbanks.com
                                                              Attorney for Defendant
                                                              Bankymed Emergency Management PLLC


                                            CERTIFICATE OF SERVICE

       I certify that true copies of this motion and proposed order were served upon the Trustee
by email to the Trustee’s attorney of record Clifford Walston of the law firm of Walston Bowlin,
LLP, to email address cliff@walstonbowlin.com, and on all persons who have entered an
appearance in this case electronically by means of the Court’s CM/ECF System
contemporaneously with filing.

       I certify that true copies of this motion and proposed order were served upon the Trustee,
the Trustee’s attorney, and all of the Defendants by mailing same, properly addressed and
postage prepaid, to the persons and parties whose names are set forth in the attached Mailing list.

          This service was completed on June 17, 2020.

                                                              .
                                                              John Mayer




Motion to Dismiss for improper Joinder of Defendants by Bankymed Emergency Management PLLC or in the Alternative Sever the Trustee's
Claims Against Blankymed Emergency Management PLLC and Order a Separate Trial – Page 7
